      Case 3:08-cr-00108-BAJ-RLB   Document 354   06/23/10   Page 1 of 7




USA
Case 3:08-cr-00108-BAJ-RLB   Document 354   06/23/10   Page 2 of 7
Case 3:08-cr-00108-BAJ-RLB   Document 354   06/23/10   Page 3 of 7
Case 3:08-cr-00108-BAJ-RLB   Document 354   06/23/10   Page 4 of 7
Case 3:08-cr-00108-BAJ-RLB   Document 354   06/23/10   Page 5 of 7
Case 3:08-cr-00108-BAJ-RLB   Document 354   06/23/10   Page 6 of 7
Case 3:08-cr-00108-BAJ-RLB   Document 354   06/23/10   Page 7 of 7
